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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 22, 2019:


        MINUTE entry before the Honorable Gary Feinerman: For the reasons set forth in
the accompanying Memorandum Opinion and Order, Defendants' motion to dismiss [37]
is denied in part (as to Rule 12(b)(1)) and granted in part (as to Rule 12(b)(6)). The
complaint [1] is dismissed without prejudice. Plaintiff has until 6/5/2019 to file an
amended complaint. If it does not do so, the dismissal will convert automatically to a
dismissal with prejudice. If Plaintiff files an amended complaint, Defendants will have
until 6/19/2019 to file their response. Mailed notice. (jjr, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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